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                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF OHIO
                          WESTERN DIVISION



 JOHN AND JANE DOE NO. 1, et              :    CASE NO. 3:22-cv-00337
 al.,                                     :
                                          :
              Plaintiffs,                 :    JUDGE MICHAEL J. NEWMAN
                                          :
 vs.                                      :    MAGISTRATE JUDGE PETER B.
                                          :    SILVAIN, JR.
                                          :
 BETHEL LOCAL SCHOOL
                                          :
 DISTRICT BOARD OF
                                          :
 EDUCATION, et al.,
                                          :
                                          :
              Defendants.


                                 NOTICE OF APPEAL

       Plaintiffs John and Jane Doe No. 1; Child No. 1A, a minor, by and through her

legal guardians John and Jane Doe No. 1; John and Jane Doe No. 2; John Doe No. 3;

Child No. 3B, a minor, by and through her legal guardian John Doe No. 3; Child No.

3C, a minor, by and through his legal guardian John Doe No. 3; Jane Doe No. 4; Child

No. 4D, a minor, by and through his legal guardian Jane Doe No. 4; Jane Doe No. 5;

Child No. 5E, a minor, by and through his legal guardian Jane Doe No. 5; Jane Doe

No. 6; Jane Doe No. 7; Child No. 7F, a minor, by and through his legal guardian Jane

Doe No. 7; John and Jane Doe No. 8; and John Doe No. 9 (“Plaintiffs”) appeal to the

United States Court of Appeals for the Sixth Circuit from the District Court’s final

decision, judgment, and Order dismissing the case, entered on August 7, 2023 (Dkt

94).
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      Dated:      September 5, 2023


                                           Respectfully submitted,


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